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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

 MEMBERS HERITAGE CREDIT UNION      )                        Case No. 5:21-cv-00207-CHB
                                    )                          ELECTRONICALLY FILED
                          PLAINTIFF )
                                    )
 vs.                                )
                                    )                      Removed from:
 NEW YORK MARINE & GENERAL          )                      Fayette Circuit Court
 INSURANCE COMPANY, PROSIGHT        )                      Case No. 21-CI-01743
 SPECIALTY MANAGEMENT CO., INC.,    )
 AND PROSIGHT SPECIALTY INSURANCE )
 COMPANY,                           )
                                    )
                      DEFENDANTS )

                      REPORT OF RULE 26(f) CONFERENCE
       Plaintiff Members Heritage Credit Union (“Plaintiff”) and the Defendants New York

Marine and General Insurance Company and ProSight Specialty Management Co., Inc.

(“Defendants”), through counsel, submit this report of their conference under Rule 26(f) of the

Federal Rules of Civil Procedure:

       1.     On September 28, 2021, the parties conferred under Rule 26(f).

       2.     Initial Disclosures. The parties do not anticipate any changes in form to, or

requirements of, mandatory disclosures under Rule 26(a). The parties shall serve all mandatory

disclosures on or before October 12, 2021, and will supplement those disclosures as required

under Rule 26(e).

       3.     Discovery Subjects. The parties anticipate discovery focusing on the following

subjects: whether an insurance policy issued by New York Marine and General Insurance

Company provides coverage, not subject to any exclusion, for claims asserted against Plaintiff in

the Superior Court Division for Wake County, North Carolina, in an action captioned Welcome

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Federal Credit Union v. Members Heritage Credit Union and Johnny Earl Harrell, court file no.

20-CVS-11735; and whether Defendants are estopped from relied on exclusions in the insurance

policy.

          4.   Electronically Stored Information. The parties do not presently anticipate any

disputes or issues arising from or relating to the disclosure or discovery of information stored

electronically or on computer-based media. Disclosure of electronically stored information will be

handled in accordance with the Federal Rules of Civil Procedure. Categories of electronically

stored information sought will be produced in the form of Bates stamped .pdf files, whenever

feasible. To the extent any party asserts during discovery that it is necessary for electronically

stored information to be produced in some other format, the parties agree to mutually work toward

a reasonable resolution of any such request. If the parties are unable to resolve disputes regarding

electronically stored information, the parties will submit them to the Court. The parties are aware

of their respective obligations to preserve electronically stored information.

          5.   Claims of Privilege or Protection Asserted After Production. The parties do not

foresee that any order will be necessary regarding claims of privilege/protection as to trial

preparation materials asserted after production.

          6.   Discovery Disputes. Pursuant to 28 U.S.C. § 636(b)(1)(A), all discovery disputes

will be referred to the United States Magistrate Judge for resolution. Discovery disputes shall be

resolved in the following manner: (1) The parties shall first confer in an attempt to resolve disputes

between themselves, without judicial intervention. (2) If the parties are unable to resolve such

disputes informally, they shall attempt to resolve their disagreements by telephone conference with

the Magistrate Judge. (3) If the parties are unable to resolve their disputes after conference with




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the Magistrate Judge, they may file appropriate written motions with the Court. Any written

motion regarding discovery shall include the certification required by Rule 37(a)(1), if applicable.

       7.      Commencement & Completion of Discovery. The parties agree that any party

may begin seeking discovery as of September 28, 2021. Discovery, including depositions,

interrogatories, requests for production of documents, and requests for admissions, should be

completed on or before April 8, 2022.

       8.      Expert Witness Disclosure. The parties agree that Plaintiff shall disclose its

expert(s) information, in accordance with Rule 26, on or before December 20, 2021. Defendant’s

expert reports shall be disclosed, in accordance with Rule 26, on or before February 21, 2022. All

expert witness depositions must be completed on or before April 8, 2022.

       9.      Limitations Imposed by the Federal Rules of Civil Procedure. The parties do

not presently anticipate any limitations on discovery or any changes in the discovery limitations

imposed by the Federal Rules of Civil Procedure or the Local Rules of this Court.

       10.     Addition of Parties/Amendment of Pleadings. The parties agree that motions for

leave to add parties or to amend pleadings should be filed on or before November 22, 2021.

       11.     Dispositive Motions. The parties agree that Motions for Summary Judgment or

other dispositive motions should be filed on or before May 6, 2022.

       12.     Final Pretrial Conference. The Parties request that a final pretrial conference be

scheduled no sooner than two months before trial.

       13.     Trial Date. The parties anticipate this case will be ready for trial on August 8,

2022, and that the trial will last approximately three days.

       14.     Class Certification. This is not a class-action Complaint.




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       15.     Settlement. The parties have discussed, in good faith, the possibility of settlement.

It appears unlikely that prompt settlement can be reached prior to the parties conducting discovery.

After discovery is conducted, the parties believe there may be a reasonable chance for settlement.



Dated: October 1, 2021

 /s/ R. Craig Reinhardt (with permission)     /s/ Gene F. Zipperle, Jr.
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